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                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
                                1:21-cr-00310-SDG-LTW
                                    USA v. Williams
                              Honorable Steven D. Grimberg

                  Minute Sheet for proceedings held In Open Court on 06/06/2022.


    TIME COURT COMMENCED: 2:15 P.M.
    TIME COURT CONCLUDED: 3:05 P.M.               COURT REPORTER: Alicia Bagley
    TIME IN COURT: 00:50                          DEPUTY CLERK: Alisha Holland
    OFFICE LOCATION: Atlanta

DEFENDANT(S):       [1]Dawuan Na'Jee Williams Present at proceedings
ATTORNEY(S)         Theodore Hertzberg representing USA
PRESENT:            Kendal Silas representing Dawuan Na'Jee Williams
PROCEEDING
                    Sentencing Hearing(Sentencing Hearing Non-evidentiary);
CATEGORY:
MINUTE TEXT:        Sentencing hearing held on June 6, 2022. The defendant withdrew his
                    previous objections to paragraphs 55 and 75-77. The Court OVERRULED
                    the defendant's objection to paragraph 57. The Court OVERRULED the
                    governments objection to paragraph 78. The Court adopted the
                    Presentence Report and made it the findings of the Court. The Court heard
                    from Government's and Defendant's counsel in support of their proposed
                    binding plea agreement, as well as an allocution from the defendant. The
                    Court accepted the binding plea agreement. The Court pronounced the
                    sentence as to Count 2 of the Indictment as 120 months' imprisonment, 3
                    years of supervised release with mandatory, standard, and special
                    conditions, no fine, and a special assessment of $100. Government's and
                    Defendant's counsel preserved their previous Guideline objections. The
                    Court advised Defendant of his right to appeal.
HEARING STATUS:     Hearing Concluded
